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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
ICR/SKW/EHS                                         271 Cadman Plaza East
F. #2022R00326                                      Brooklyn, New York 11201



                                                    January 19, 2023
By Email and ECF

Mia Eisner-Grynberg, Esq.
Amanda David, Esq.
Federal Defenders of New York
One Pierrepont Plaza, 16th Floor
Brooklyn, New York 11201


                Re:   United States v. Frank James
                      Criminal Docket No. 22-214 (WFK)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance with
Rule 16 of the Federal Rules of Criminal Procedure. The discovery is being produced pursuant to
the Protective Order entered by the Court on July 15, 2022.

I.     The Government’s Discovery

       A.       Documents and Tangible Objects

 Bates Numbers                     Description
 FJ_0016230 – FJ_0016799;          Medical Records for gunshot victims, designated Sensitive
 FJ_0016805 – FJ_0016808           Discovery Material.
 FJ_0016800 – FJ_0016804           Federal Bureau of Investigation (“FBI”) Reports, designated
                                   Sensitive Discovery Material.
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             Please reach out with any questions.


                                                    Very truly yours,

                                                    BREON PEACE
                                                    United States Attorney

                                          By:                /s/
                                                    Ian C. Richardson
                                                    Sara K. Winik
                                                    Ellen H. Sise
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

Enclosures

cc:   Clerk of the Court (WFK) (by ECF) (without enclosures)




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